                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK


    NADEZDA STEELE-WARRICK,                          Hon. Vera M. Scanlon
    individually and on behalf of all others
    similarly situated,                              CASE 1:19-cv-06558-VMS

                           Plaintiff
           vs.                                       MEMORANDUM OF LAW IN SUPPORT
                                                     OF DEFENDANT MICROGENICS
    MICROGENICS CORPORATION AND                      CORPORATION’S PARTIAL MOTION
    THERMO FISHER SCIENTIFIC INC.,                   TO DISMISS PLAINTIFF'S SECOND
                                                     AMENDED CLASS ACTION
                           Defendants                COMPLAINT


                                               Introduction
          Plaintiff Nadezda Steele-Warrick, having staved off dismissal of her garden-variety

negligence claim, returns to this Court with a Second Amended Class Action Complaint [ECF No.

691] (the “Complaint”) and three new, conclusory claims—including two for alleged constitutional

violations—that all rest upon the demonstrably false contention that Microgenics is responsible

for inmate discipline at facilities operated by the New York Department of Corrections and

Community Supervision (“DOCCS”). Despite Plaintiff’s labored effort to generate constitutional

and consumer-protection controversies where none exist, her new claims are unsustainable, and

all should be dismissed in accordance with Rule 12(b)(6) of the Federal Rules of Civil Procedure.

          Plaintiff’s new claims fall into two categories: (1) constitutional violations, allegedly

actionable under a “state action” theory (see 42 U.S.C. § 1983); and (2) consumer protection

violations under N.Y. Gen. Bus. Law (“GBL”) § 349 for Microgenics’ alleged use of “deceptive

acts and practices” in its distribution of urinalysis products. Both theories are facially defective.




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      The unredacted Second Amended Complaint was filed under seal.
       First, Plaintiff’s constitutional claims are not actionable under Section 1983 because the

Complaint does not plausibly allege state action by Microgenics. It was DOCCS, not Microgenics,

that administered Plaintiff’s allegedly faulty preliminary screen, chose not to perform a

confirmatory test, conducted the disciplinary hearing, and imposed the complained-of punishment.

Private firms do not become state actors merely by selling products to the government; nor do they

become state actors by training government employees to use those products. As constitutional

claims are not cognizable against private entities that have not engaged in state action, Plaintiff’s

claims under the Eighth and Fourteenth Amendments fail as a matter of law.

       Second, the Complaint’s deficiencies under Section 1983 notwithstanding, Plaintiff has

failed to plead the requisite elements of her constitutional claims. For each claim, Plaintiff was

required to plead that a Microgenics policy caused her alleged injuries, but the Complaint contains

no such allegations. Plaintiff’s Eighth Amendment claim fails because the discipline described in

the Complaint is not sufficiently serious to implicate the Constitution’s prohibition on cruel and

unusual punishment, and, even if it were, Plaintiff has not plausibly alleged that Microgenics

deliberately inflicted the discipline she received. Plaintiff’s Fourteenth Amendment claim fails

because the deprivations alleged in her Complaint do not constitute a cognizable “liberty interest”

as required to state a claim for violation of substantive due process. Nor has Plaintiff alleged any

sufficiently culpable conduct to sustain a Fourteenth Amendment claim.

       Third, the consumer protection claim fails because GBL § 349 was not intended to reach

complex transactions between sophisticated parties like the DOCCS–Microgenics contract, and

even if it were, Plaintiff has not claimed that she was personally informed of or misled.

       Accordingly, Plaintiff fails to state any valid claim under 42 U.S.C. § 1983 or GBL § 349,

and Counts II, III, and IV of the Complaint should be dismissed with prejudice.




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                                           Background
       As this Court is aware, Plaintiff’s claims arise from the allegedly inaccurate results of a

preliminary drug screen performed by DOCCS on April 14, 2019. At that time, Microgenics had

a contract with DOCCS to supply urinalysis analyzers, immunoassays, and (limited) support

services related to inmate drug testing. Alleging that Microgenics had negligently supplied faulty

testing equipment under its contract with DOCCS, Plaintiff filed this putative class action on

November 20, 2019. See ECF No. 1. Microgenics subsequently moved to dismiss Plaintiff’s claims

and strike the class allegations on April 24, 2020, which motion this Court denied on March 22,

2021. See ECF Nos. 48, 64. The Court found that Plaintiff had plausibly alleged that Microgenics

owed her a duty of care and the allegations plausibly supported the possibility of a fact issue as to

breach of the purported duty. Steele-Warrick v. Microgenics Corp., No. 19 Civ. 6228 (VMS), 2021

WL 1109052, at *9–13 (E.D.N.Y. Mar. 22, 2021).

       After the Court denied Microgenics’ motion, Plaintiff amended her complaint a second

time, asserting the new causes of action for alleged constitutional and consumer-protection

violations. As noted, each of the new claims is fatally flawed and ripe for dismissal with prejudice.

                                       Law and Argument

  I.   Rule 12(b)(6) standard.

       To withstand a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

factual matter, accepted as true, to state a claim to relief that is plausible on its face.” Concord

Assocs., L.P. v. Entm’t Props. Trust, 817 F.3d 46, 52 (2d Cir. 2016) (quoting Ashcroft v. Iqbal,

553 U.S. 662, 678 (2007)). The plausibility standard requires “‘more than a sheer possibility that

a defendant has acted unlawfully.’” Galiano v. Fidelity Nat’l Title Ins. Co., 684 F.3d 309, 313 (2d

Cir. 2012) (quoting Iqbal, 556 U.S. at 678). A plaintiff must plead “factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”


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Anyachebelu v. Brooklyn Hosp. Ctr., No. 16 Civ. 3159 (DLI) (VMS), 2017 WL 9511073, at *4

(E.D.N.Y. July 20, 2017) (quoting Iqbal, 556 U.S. at 678).

       “Although this plausibility pleading standard is forgiving, a court is not required to credit

‘legal conclusion[s] couched as . . . factual allegation[s]’ or ‘naked assertions devoid of further

factual enhancement.’” Steele-Warrick v. Microgenics Corp. et al., No. 19 Civ. 6558 (VMS), 2021

WL 1109052, at *9 (E.D.N.Y. Mar. 22, 2021) (quoting Mandala v. NTT Data, Inc., 975 F.3d 202,

207 (2d Cir. 2020)).

       On the facts alleged in the Complaint, Plaintiff has not stated viable constitutional or

consumer-protection claims, and those claims must be dismissed with prejudice.

 II.   The Complaint fails to state a claim for violation of the Eighth Amendment or
       Substantive Due Process (Second and Third Causes of Action) because it does not
       plausibly allege that Microgenics engaged in state action.

       The Complaint asserts two causes of action under 42 U.S.C. § 1983. First, Plaintiff

contends that Microgenics “facilitate[ed] and enable[ed], and even actively and substantially

encourag[ed]” the imposition of disciplinary sanctions on Plaintiff based on her allegedly “false

positive” drug screen, thereby subjecting Plaintiff to cruel and unusual punishment in violation of

the Eighth and Fourteenth Amendments. Compl. ¶ 226. Second and relatedly, Plaintiff claims that

Microgenics’ alleged facilitation of unwarranted discipline violated her substantive due process

rights under the Fourteenth Amendment. Compl. ¶ 228. Despite Plaintiff’s dubious insinuations

that Microgenics—a private firm that sells diagnostics equipment—has some degree of authority

over DOCCS vis-à-vis inmate discipline (it categorically does not), neither cause of action

plausibly alleges state action under the relevant standards.

       To hold a private entity accountable for an alleged constitutional violation under Section

1983, a plaintiff must show “state action.” Tancredi v. Metro. Life Ins. Co., 316 F.3d 308, 312 (2d

Cir. 2003). State action exists where a plaintiff’s injury is “caused by the exercise of some right or


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privilege created by the state or by a rule of conduct imposed by the state or by a person for whom

the State is responsible,” and “the party charged with the deprivation [is] a person who may fairly

be said to be a state actor.” Lugar v. Edmonson Oil Co., 457 U.S. 922, 937 (1982). In other words,

the private entity’s actions must be “fairly attributable” to the state before Section 1983 liability

can attach. Hollander v. Copacabana Nightclub, 624 F.3d 30, 33 (2d Cir. 2010). In determining

whether this precondition is satisfied, courts consider three main tests:

               For the purposes of [Section] 1983, the actions of a nominally
               private entity are attributable to the state . . . . (1) [when] the entity
               acts pursuant to the coercive power of the state or is controlled by
               the state (“the compulsion test”); (2) when the state provides
               significant encouragement to the entity, the entity is a willful
               participant in joint activity with the state, or the entity’s functions
               are entwined with state policies (“the joint action test” or “close
               nexus test”); or (3) when the entity has been delegated a public
               function by the state (“the public function test”).

Sybalski v. Indep. Grp. Home Living Program, Inc., 546 F.3d 255, 257 (2d Cir. 2008) (alterations

and internal quotation marks omitted). Because Plaintiff has not invoked a “compulsion” theory

of state action, see Compl. ¶ 216, Microgenics addresses only the “joint action” and “public

function” theories below. Neither could possibly support a finding of state action in this case.

           A. Plaintiff has not alleged any facts to support a “joint action” theory of Section
              1983 liability against Microgenics.

       Plaintiff’s claims under Section 1983 comprise two conclusory sentences of her 237-

paragraph complaint. Compl. ¶¶ 226, 228. Notably, DOCCS—the actual state actor involved in

Plaintiff’s alleged deprivations—is not mentioned in either claim. Id. It is unclear how Plaintiff

intends to prove that Microgenics and DOCCS teamed up to violate her constitutional rights when

DOCCS is so conspicuously absent from these allegations. See, e.g., Young v. Suffolk Cnty., 705

F. Supp. 2d 183, 190 (E.D.N.Y. 2010) (granting news organizations’ joint motion to dismiss

Section 1983 claim for alleged Fourth Amendment violation where plaintiff advanced only “[one]



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conclusory allegation of a ‘media ride-along’ [to the alleged illegal search and seizure], without a

single specific allegation to support the claim that the media was acting jointly with the police.”

(emphasis added)).

       Indeed, as noted supra, a plaintiff seeking to impose Section 1983 liability under a “joint

action” theory must allege that the state provided “significant encouragement” to the private entity,

or that the entity was a “willful participant” in joint activity with the state, or that the entity’s

complained-of conduct was inextricably “entwined” with official state policies. Graham-Johnson

v. Cty. of Albany, 471 F. Supp. 3d 506, 519 (N.D.N.Y. 2020) (citations omitted). Clearly, then, the

state must be directly implicated in a plaintiff’s Section 1983 claim, and its alleged encouragement

of, participation in, or entwinement with the private entity’s actions must be adequately described.

Plaintiff has not made even a cursory attempt to satisfy this requirement here.

              i.   Plaintiff has not demonstrated that DOCCS “significantly encouraged”
                   Microgenics’ alleged violations.

       Plaintiff’s Section 1983 claims do not contain any facts to suggest that DOCCS

“significantly encouraged” Microgenics in some Machiavellian scheme to violate her

constitutional rights. To the contrary, Plaintiff’s Complaint goes to great lengths to attempt to

posture DOCCS as a victim of Microgenics’ allegedly deceptive business practices under New

York’s consumer protection statute. Compl. ¶ 236. Plaintiff’s claim that Microgenics hoodwinked

DOCCS into disciplining prisoners based on tests that Microgenics knew were faulty—far-fetched

as it is—cannot logically support any theory of joint state action under Section 1983, and certainly

does not support an inference that DOCCS affirmatively encouraged Microgenics’ conduct. See

Blum v. Yaretsky, 457 U.S. 991, 1004 (1982) (explaining that “significant encouragement” exists

only in situations where the state has provided such forceful support for the unlawful enterprise

“that the [private entity’s] choice must in law be deemed to be that of the State.”). No plausible



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reading of the Complaint suggests that DOCCS knowingly permitted—much less championed—

Microgenics’ alleged violations. Plaintiff therefore cannot show joint action under a “significant

encouragement” theory.

               ii.   Plaintiff has not alleged that Microgenics was a “willful participant” in
                     joint misconduct with DOCCS.

          Nor has Plaintiff satisfied the “willful participant” test for joint action under Section 1983.

Courts in the Second Circuit have held that “[a] private actor can only be ‘a willful participant in

joint activity with the State or its agents’ if the two share some common goal to violate the

plaintiff’s rights.” Betts v. Shearman, 751 F.3d 78, 85 (2d Cir. 2014) (citation omitted) (emphasis

added). “The touchstone of joint action is often a plan, prearrangement, conspiracy, custom, or

policy shared by the private actor and the [state actor].” Missere v. Gross, 826 F. Supp. 2d 542,

567 (S.D.N.Y. 2011) (citation omitted); see also Adickes v. Kress & Co., 398 U.S. 144, 158 (1970)

(analogizing joint action as a quasi-contractual “meeting of the minds” between the state and

private actor to deprive the plaintiff of his or her rights). At its core, then, the “willful participant”

theory of joint action is about teamwork between state and private actors to infringe on a plaintiff’s

rights.

          Here, Plaintiff has not plausibly alleged that Microgenics and the state worked in concert

to violate her rights because her operative allegations do not even mention any action on DOCCS’s

part, other than its supposedly passive role as putative victim. It is axiomatic that “[a] requirement

of the joint action charge is [that] both public and private actors share a common, unconstitutional

goal.” Betts, 751 F.3d 78, 85 (quoting Cunningham v. Southlake Ctr. for Mental Health, Inc., 924

F.2d 106, 107 (7th Cir. 1991) (emphasis added). It thus follows that to state a claim under this test

Plaintiff must plead facts demonstrating how DOCCS was involved in the alleged violation; absent

some alleged action by DOCCS, Microgenics cannot be liable under Section 1983 as a willful



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coparticipant. Further, even if Plaintiff had alleged discrete facts showing cooperation between

DOCCS and Microgenics (which she does not do), Plaintiff could not credibly allege that DOCCS

was simultaneously an affirmative coconspirator with and oblivious victim of Microgenics.

DOCCS either helped Microgenics commit the alleged violations (implicating Section 1983

liability) or was unaware of the allegedly faulty testing protocol (eviscerating any theory of state

action under Section 1983); Plaintiff cannot have it both ways.

        Without pleading the requisite coordination between Microgenics and the state, Plaintiff’s

alleged constitutional violations are not actionable under Section 1983. Sybalski, 546 F.3d at 257

(“A plaintiff pressing a claim of violation of his constitutional rights under § 1983 is [required] to

show state action.”) (citation omitted). As Plaintiff has not alleged any facts showing such

cooperation, her claims are not sustainable under the “willful participant” test for Section 1983

liability.

             iii.   Plaintiff has not alleged facts supporting an “entwinement” theory of joint
                    action.

        Finally, Microgenics’ contract to supply DOCCS with urinalysis equipment and related

services does not constitute sufficient “entwinement” with state policies to hold Microgenics

accountable for allegedly unconstitutional inmate discipline.

        Under the rarely-invoked entwinement test, “[c]onduct that is formally private may become

so entwined with governmental policies or so impregnated with a governmental character that it

can be regarded as governmental action.” Rendell-Baker v. Kohn, 457 U.S. 830, 847 (1982)

(internal citation and quotation marks omitted).

        However, Microgenics has not engaged in any quasi-governmental conduct merely by

contracting with DOCCS to supply certain diagnostics equipment and training and therefore

cannot be liable for inmate discipline under an “entwinement” theory. As discussed infra, private



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firms do not become state actors merely by selling products or training services to the government.

See, e.g., Johnson v. Newport Lo(R)illard, No. 01 Civ. 9587 (SAS), 2002 WL 1203842 (S.D.N.Y.

June 3, 2002) (holding that mere sale of goods to prison facility does not constitute action under

color of state law). As such, Plaintiff’s claims do not give rise to an inference of “entwinement”

between Microgenics’ conduct and DOCCS policies sufficient to support her state action theory.

           B. Microgenics’ sale of drug-testing equipment to DOCCS and provision of
              training to DOCCS employees does not constitute a traditional “public
              function.”

       The only remaining avenue by which Plaintiff could attempt to show state action is the

“public function” exception. Under this test, a private firm’s activity is deemed a public function

only if the government “traditionally and exclusively performed the function.” Manhattan Cmty.

Access Corp. v. Halleck, 139 S. Ct. 1921, 1929 (2019) (citation omitted). The Supreme Court has

cautioned that “very few” activities qualify as public functions. Id. (citation omitted).

       As a matter of law, Microgenics’ contractual undertaking did not include any public

functions. DOCCS hired Microgenics primarily to supply products to DOCCS facilities—

specifically, urinalysis analyzers and specified reagents—and to provide certain ancillary services,

such as installing the analyzers and training DOCCS employees to operate them. It is, however,

well established that “a private firm does not become a state actor by selling its products to the

government.” Steading v. Thompson, 941 F.2d 498, 499 (7th Cir. 1991) (citation omitted). Nor

does a private firm become a state actor by training government employees to use products it sells.

See, e.g., O’Boyle v. Bradshaw, 952 F. Supp. 2d 1310, 1315 (S.D. Fla. 2013) (supplying

municipalities with breathalyzer test machines and training did not satisfy the public-function

exception); Neal-Lomax v. Las Vegas Metro Police Dep’t, No. 2:05-CV-1464-PMP-PAL, 2006

WL 2022989, at *7 (D. Nev. July 18, 2006) (reaching the same conclusion as to the provision of

training on taser use). And to the extent Plaintiff would argue that drug testing of individuals held


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in state custody is a traditional government function, it is DOCCS, not Microgenics, that performs

the actual testing pursuant to state regulations.

       Accordingly, Plaintiff cannot demonstrate state action under the public functions

exception, and her Section 1983 claims against Microgenics should be dismissed.

III.   Independently, the Complaint fails to state a claim for violation of the Eighth
       Amendment or Substantive Due Process (Second and Third Causes of Action)
       because it does not allege, plausibly or otherwise, that Microgenics maintained an
       official corporate policy that caused Plaintiff’s alleged injuries.

       A private company cannot be held liable under Section 1983 “unless the plaintiff proves

that ‘action pursuant to official … policy of some nature caused a constitutional tort.’” Rojas v.

Alexander’s Dep’t Store, Inc., 924 F.2d 406, 408 (2d Cir. 1990) (quoting Monell v. Dep’t of Social

Serv. of the City of N.Y., 436 U.S. 658, 691 (1978)) (alteration in original). Thus, to plead a Section

1983 claim against a private corporation, “a plaintiff must give a factual description of such a

policy, not just bald allegations that such a thing existed.” Bess v. City of New York, No. 11 CIV.

7604 TPG, 2013 WL 1164919, at *2 (S.D.N.Y. Mar. 19, 2013). Failure to do so warrants dismissal.

Vartinelli v. Aramark Corr. Servs., LLC, 796 F. App’x 867, 871–72 (6th Cir. 2019) (dismissing

Section 1983 claim against Aramark where the plaintiff failed “to plausibly allege, or allege at all

for that matter, that Aramark maintained a policy or custom that disregarded inmates’ medical

needs”).

       Here, Plaintiff hasn’t even alleged the existence of any Microgenics policy that somehow

caused the alleged constitutional torts, let alone provide a factual description of any such a policy.

This omission entitles Microgenics to dismissal of Plaintiff’s newfound Section 1983 claims. See

Harper v. City of New York, 424 F. App’x 36, 39 (2d Cir. 2011) (affirming dismissal of Section

1983 claim because the plaintiff’s complaint did “not even provide an indication of what the City’s

custom or policy to which he was subject consists of”). Far from alleging a company policy that



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caused her injury, Plaintiff repeatedly asserts that Microgenics’ “own standards” would have, if

implemented, prevented her harm. See, e.g., Compl. ¶ 186 (stating that “Defendants’ own

standards … mandated a gas chromatography and mass spectrometry confirmatory test before

discipline can be imposed”). In other words, Plaintiff’s claim is not that a company policy caused

her injury, but that alleged noncompliance or non-implementation caused her injury. Such a theory

is insufficient as a matter of law to support a Section 1983 claim against a private corporation.

IV.    The Complaint fails to state a Section 1983 claim for violation of the Eighth
       Amendment (Second Cause of Action) because Plaintiff’s alleged discipline was not
       sufficiently serious and she has not plausibly alleged that Microgenics deliberately
       inflicted punishment.

       Even if the Complaint cleared the threshold hurdle of pleading state action or a corporate

policy that caused her injury (it does not), Plaintiff’s allegations fail to plausibly allege the

substantive elements of an Eighth Amendment claim of cruel and unusual punishment.

           A. Plaintiff’s alleged discipline was not sufficiently serious to constitute cruel and
              unusual punishment under the Eighth Amendment.

       To state a claim for relief for violation of the Eighth Amendment, “a plaintiff must plead

‘a harm of magnitude that violates a person’s Eighth Amendment rights.’” Hurd v. Fredenburgh,

984 F.3d 1075, 1084 (2d Cir. 2021) (quoting Calhoun v. N.Y. State Div. of Parole Officers, 999

F.2d 647, 654) (2d Cir. 1993)). Plaintiff’s alleged harms do not rise to the requisite level.

       Following Plaintiff’s positive drug screen, DOCCS confined Plaintiff, who was in custody

for stabbing her mother-in-law, “in a disciplinary keeplock cell where she remained for eleven

days.” Compl. ¶ 67. While in the keeplock cell, she had only “limited access” to “property,

packages, telephones, correspondence, and visitors,” and her commissary privileges were

suspended. Id. ¶ 68. Plaintiff claims the cell also lacked a “nightstand, radio, or closet,” and that

she lacked access to her belongings. Id. ¶¶ 70–71. Finally, Plaintiff alleges that, for her last few

weeks in prison following the keeplock confinement, she lost out on “recreation, packages, and


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commissary privileges,” and “eligibility for the FRP program.” Id. ¶¶ 79–80. Nevertheless,

Plaintiff was released from DOCCS’s custody as scheduled on May 22, 2019, approximately one

month after her allegedly false urinalysis drug screen. Id. ¶¶ 66, 87.

       As a matter of law, the discipline DOCCS imposed in response to Plaintiff’s positive drug

screen does not constitute cruel and unusual punishment. Quite the opposite, courts have

repeatedly ruled that relatively short-lived keeplock or special-housing-unit (“SHU”)

confinement—with the associated loss of prison privileges—is not “sufficiently serious for the

purpose of the Eighth Amendment.” McRae v. Fisher, No. 9:17-cv-0146 (BKS/CFH), 2018 WL

3432743, at *3 (N.D.N.Y. June 6, 2018) (internal quotation marks omitted); accord Jackson v.

Heer, 322 F. Supp. 3d 406, 412 (W.D.N.Y. 2018) (rejecting claim that SHU confinement could

constitute cruel and unusual punishment, noting that the conditions of which plaintiff complained

were “simply those that are normally associated with SHU confinement”); Roseboro v. Gillespie,

791 F. Supp. 2d 353, 381 (S.D.N.Y. 2011) (finding that a nine-day confinement to a special

housing unit with loss of “visitation, phone, and commissary privileges” was insufficient to support

an Eighth Amendment claim); Pilgrim v. Artus, No. 07-cv-1001, 2010 WL 3724883, at *9

(N.D.N.Y. May 18, 2010) (finding that plaintiff’s prison conditions, which included “three thirty

(30) day and one forty-five (45) day periods in keeplock, loss of phone and commissary privileges,

no regular visits, twenty-three (23)-hour confinement, and only three showers a week,” did not

constitute cruel and unusual punishment); Thompson v. United States, No. 09-CV-0964M, 2010

WL 1910293, at *4–6 (W.D.N.Y. May 7, 2010) (ruling that eighteen days in SHU (four days

longer than the disciplinary action required) did not rise to the level of cruel and unusual

punishment); Jackson v. Johnson, 15 F. Supp. 2d 341, 363 (S.D.N.Y. 1998) (“The mere placement




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in keeplock for 99 days is not sufficiently egregious to constitute cruel and unusual punishment

under the Eighth Amendment.”).

       Because, as a matter of law, Plaintiff’s eleven-day confinement in keeplock cannot possibly

constitute cruel and unusual punishment, she has not stated a plausible Section 1983 claim for

violation of the Eighth Amendment.

           B. Furthermore, Plaintiff has not plausibly alleged that Microgenics deliberately
              inflicted the punishment she received.

       Even if DOCCS had subjected Plaintiff to cruel and unusual punishment, she has not

adequately pleaded the scienter requirement of her Eighth Amendment claim. An “Eighth

Amendment violation typically requires a state of mind that is the equivalent of criminal

recklessness.” Francis v. Fiacco, 942 F.3d 126, 150 (2d Cir. 2019). Under this standard, “only the

deliberate infliction of punishment, and not an ordinary lack of due care for prisoner interests or

safety, leads to liability.” Id. (internal quotations and citation omitted). A defendant “cannot be

found liable under the Eighth Amendment for denying an inmate humane conditions of

confinement unless the official knows of and disregards an excessive risk to inmate health or

safety.” Farmer v. Brennan, 511 U.S. 825, 837 (1994).

       Plaintiff’s allegations fall far short of describing the “sufficiently culpable state of mind”

required to support an Eighth Amendment claim. Hurd v. Fredenburgh, 984 F.3d 1075, 1084 (2d

Cir. 2021). Microgenics’ actions in supplying purportedly substandard urinalysis products and

services did not inflict punishment on Plaintiff—not deliberately, recklessly, or otherwise. Plaintiff

does not, for example, allege that Microgenics placed Plaintiff in keeplock or withdrew any of her

prison privileges. She does not even allege that Microgenics was aware that DOCCS had screened

her urine, that the screen results were positive, or that DOCCS decided to impose discipline as a

consequence of Plaintiff’s drug screen. See Jackson v. Heer, 322 F. Supp. 3d 406, 412 (W.D.N.Y.



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2018) (finding that even the submission of “false disciplinary charges” is “too attenuated to support

a claim” for cruel and unusual punishment).

       To the contrary, the drug screen and disciplinary process was conducted by DOCCS alone,

in accordance with state law. Indeed, New York regulations dictated the procedures that led to

Plaintiff’s discipline and provided no role in the process for Microgenics.2 New York state

regulations (not Microgenics) insisted on the use of urinalysis testing to ascertain whether

prisoners are using drugs. See N.Y. Comp. Codes R. & Regs. Tit. 7 § 1020.1 (“Urinalysis test

procedures shall be used to verify whether or not an inmate has used drugs . . . .”). Under those

regulations, a DOCCS employee (not Microgenics) identified Plaintiff as a drug-test target, and a

DOCCS lieutenant or higher authority (not Microgenics) approved the testing. N.Y. Comp. Codes

R. & Regs. Tit. 7 § § 1020.4(b). As required by the regulations, DOCCS (not Microgenics)

collected and tested Plaintiff’s urine. N.Y. Comp. Codes R. & Regs. Tit. 7 § 1020.4(d), (f). As

required by the regulations, DOCCS (not Microgenics) initiated and conducted the disciplinary

proceedings following Plaintiff’s positive drug screen. N.Y. Comp. Codes R. & Regs. Tit. 7 §

253.6. And as required by the regulations, DOCCS (not Microgenics) determined the discipline

Plaintiff received following her disciplinary hearing. N.Y. Comp. Codes R. & Regs. Tit. 7 § 253.7.

From the time DOCCS initiated Plaintiff’s drug screen through to the imposition of punishment,

DOCCS was in control, and Microgenics played no role in the proceedings and thus did not

inflict—deliberately or otherwise—any punishment Plaintiff received.

       Plaintiff seems to imply that Microgenics induced or tricked DOCCS into punishing

prisoners by allegedly omitting to tell DOCCS that positive results from immunoassay drug




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    DOCCS issued a directive that implemented these regulations. See DOCCS Directive No. 4937
    [ECF No. 48-2 at 183–192].


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screens should be confirmed by other test methods. E.g., Compl. ¶¶ 184–85. Even if that were true,

it is far too attenuated to support an Eighth Amendment claim. But it isn’t true; it’s demonstrably

false. Microgenics repeatedly informed DOCCS that immunoassay screens are preliminary and

should be confirmed by other means.

       For example, Microgenics’ bid to supply urinalysis products and services expressly stated

that its “assays provide a simple and rapid analytical screening for detecting drugs in urine. For

further confirmation of a urine sample, one should use methods such as GC/MS or LC/MS.”

Contract No. CC161458, Appendix H, Attachment B at Bates No. DOCCS 00255, attached to the

Decl. of N. Marcusen as Ex. 1 (emphasis added). Subsequently, when Microgenics supplied drug-

screen immunoassays to DOCCS, the Package Inserts for the assays included the following

statement in bold typeface and italics: “This assay provides only a preliminary analytical test

result. A more specific alternative chemical method must be used to obtain a confirmed

analytical   result.   Gas    chromatography/mass        spectrometry    (GC/MS)      or    Liquid

chromatography/tandem mass spectrometry (LC-MS/MS) is the preferred confirmatory

method.” Package Insert for CEDIA Buprenorphine II Assay at 1, attached to the Decl. of N.

Marcusen as Ex. 2 (emphasis in original). This information is also set forth in the immunoassays’

Indications for Use. See, e.g., 510(k) Substantial Equivalence Determination Decision Summary,

510(k) Number k163101 [ECF No. 48-2 at 205–218] at 2.3 Notwithstanding Plaintiff’s bald




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    The Court previously considered Contract No. CC161458 and the Indications for Use in
    connection with Microgenics’ motion to dismiss the First Amended Complaint. The Court may
    also consider the Package Insert as Plaintiff refers to it in the Second Amended Complaint. See
    Gioia v. Janssen Pharms., No. 19CV04629JMASIL, 2021 WL 602683, at *4 (E.D.N.Y. Feb.
    16, 2021) (“The Court takes judicial notice of the FDA-approved package insert.”); cf. Goel v.
    Bunge, Ltd., 820 F.3d 554, 559 (2d Cir. 2016) (noting that courts may consider documents
    integral to the complaint).



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allegations to the contrary, it is irrefutable that Microgenics repeatedly informed DOCCS that its

assays provide preliminary analytical test results and that other test methods must be used to obtain

confirmed results.

       Regardless, even if Microgenics hadn’t said a word about confirmatory testing, DOCCS

had known for decades that immunoassay manufacturers recommend the use of confirmatory

testing. See Peranzo v. Coughlin, 608 F. Supp. 1504, 1514 (S.D.N.Y. 1985) (discussing

recommendations from a DOCCS immunoassay supplier that “positive results be confirmed by

any of several chromatographic procedures”). Consistent with its intimate knowledge of

immunoassay testing, DOCCS was already using confirmatory testing for parolees, even while

simultaneously opting to forgo such testing for inmates. DOCCS Directive No. 9432 [ECF No.

48-2 at 160–172] at 3. In fact, DOCCS specifically chose confirmatory testing for parolees “to

provide for a greater margin of accuracy.” Id.

       Despite Plaintiff’s conclusory allegations to the contrary, Microgenics did not inflict

punishment on Plaintiff. In accordance with New York law, DOCCS—and DOCCS alone—

conducted Plaintiff’s drug screen, held disciplinary proceedings, and imposed discipline. For this

independent reason, the Complaint fails to state a Section 1983 claim for violation of the Eighth

Amendment.

 V.    The Complaint fails to state a Section 1983 substantive due process claim (Third
       Cause of Action) because it does not plausibly allege the violation of a liberty interest
       or any sufficiently culpable conduct.

       As with Plaintiff’s Eighth Amendment claim, her substantive due process claims fails for

lack of plausible allegations as to the substantive elements of the claim.

           A. Plaintiff has not plausibly alleged violation of a liberty interest.

       “The first step in substantive due process analysis is to identify the constitutional right at

stake.” Kaluczky v. City of White Plains, 57 F.3d 202, 211 (2d Cir. 1995). In the prison context,


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cognizable liberty interests are “generally limited to freedom from restraint which . . . imposes

atypical and significant hardship on the inmate in relation to the ordinary incidents of prison life.”

Sandin v. Conner, 515 U.S. 472, 484 (1996).

       Here, although the Complaint does not expressly assert a liberty interest, Plaintiff

apparently claims such an interest in avoiding her keeplock confinement and associated loss of

privileges. See Compl. ¶ 228. As a matter of law, however, a keeplock confinement of eleven days

under ordinary keeplock conditions does not implicate a liberty interest. See Palmer v. Richards,

364 F.3d 60, 65–66 (2d Cir. 2004) (discussing the duration and nature of confinement necessary

to implicate a liberty interest and citing relevant cases); Vaughan v. Erno, 8 F. App’x 145, 146 (2d

Cir. 2001) (holding that the plaintiff “failed to raise an issue of fact that his keeplock confinement

constituted denial of a due process right because he did not allege any adverse conditions of the

confinement other than its duration” of thirty days). Plaintiff’s substantive due process claim is

thus legally deficient and must be dismissed.

           B. Plaintiff has not plausibly alleged the requisite culpability for a substantive
              due process claim.

       Plaintiff’s substantive due process claim fails at the second step as well, which requires her

to plead and prove sufficiently culpable conduct. Generally, a plaintiff asserting a substantive due

process claim must “‘demonstrate that the state action was so egregious, so outrageous, that it may

fairly be said to shock the contemporary conscience.’” Hurd v. Fredenburgh, 984 F.3d 1075, 1087

(2d Cir. 2021). The type of conduct that “most probably” supports a substantive due process claim

is that which is “intended to injury in some way unjustifiable by any government interest.” Cty. of

Sacramento v. Lewis, 523 U.S. 833, 849 (1998). Mere negligence, however, “will never give rise

to a substantive due process violation.” O’Connor v. Pierson, 426 F.3d 187, 203 (2d Cir. 2005).

Nor does conduct that is “merely incorrect or ill-advised.” Cannon v. NYS Commissioner of Social



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Servs., No. 19 Civ. 6493 (CM), 2019 WL 3743975, at *4 (S.D.N.Y. Aug. 7, 2019). Within prison

settings in particular, “[v]ery few conditions … have been found ‘shocking’ enough to violate a

prisoner’s right to substantive due process.” Samms v. Fischer, No. 9:10-CV-0349 (GTS/GHL),

2011 WL 3876528, at *12 (N.D.N.Y. Mar. 25, 2011) (citation omitted).

       Plaintiff’s original state law claim, which survived Microgenics’ first motion to dismiss, is

for mere negligence, and to a significant extent, rests of allegations of breaches of warranties. See

Steele-Warrick v. Microgenics Corp., No. 19 CIV. 6558 (VMS), 2021 WL 1109052, at *12

(E.D.N.Y. Mar. 22, 2021) (finding that plaintiff plausibly alleged that Microgenics “warrantied a

uniquely accurate urinalysis system”). While the Court has concluded that Plaintiff’s allegations

are sufficient to raise a “reasonable possibility of a fact issue” as to negligence, they fall far short

of the shocks-the-conscience standard required to state a claim for violation of substantive due

process rights. See Weidner v. City of New York, No. 16 Cv. 6935 (RMB), 2017 WL 2984021, at

*4 (S.D.N.Y. June 20, 2017) (rejecting due process claim based on allegation that private

contractor misrepresented that its fire-suppression work was conducted by licensed contractors).

       In sum, Plaintiff’s Section 1983 claims for alleged Eighth Amendment and substantive due

process violations fail for multiple independent reasons and should be dismissed.

VI.    Plaintiff’s consumer protection claim (Fourth Cause of Action) fails because GBL §
       349 does not apply to the DOCCS–Microgenics contract, and even if it did, Plaintiff
       has not claimed personal knowledge of or reliance upon Microgenics’ allegedly
       misleading literature.

       Finally, Plaintiff’s consumer protection claim under GBL § 349 fails as a matter of law and

must be dismissed because the DOCCS–Microgenics contract is not consumer-oriented and

Plaintiff has not alleged personal knowledge of the allegedly deceptive conduct.




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           A. GBL § 349 does not apply to the DOCCS–Microgenics contract.

       To state a claim under GBL § 349, a plaintiff must allege that the defendant has engaged

in: (1) a consumer-oriented act, practice, or advertisement that is (2) materially misleading, and

(3) causes injury to the plaintiff. Orlander v. Staples, Inc., 802 F.3d 289, 300 (2d Cir. 2015) (citing

Koch v. Acker, Merrall & Condit Co., 967 N.E.2d 675 (N.Y. 2012)); see also Maurizio v.

Goldsmith, 230 F.3d 518, 521 (2d Cir. 2000) (citing the elements for a prima facie case under GBL

§ 349). The critical inquiry is whether the disputed transaction was “consumer-oriented,” as

“allegedly deceptive acts that occur between relatively sophisticated entities with equal bargaining

power do not give rise to § 349 liability.” Exxonmobil Inter-America, Inc. v. Advanced Info. Eng’g

Servs., Inc., 328 F. Supp. 2d 443, 449 (S.D.N.Y. 2004). Similarly, “[c]ontracts to provide

commodities that are available only to businesses do not fall within the parameters of § 349.” Id.

(emphasis added). In short, if a transaction does not involve ordinary consumers purchasing

ordinary goods or services, GBL § 349 does not apply.

       First and foremost, Plaintiff’s claim under GBL § 349 fails because the DOCCS–

Microgenics contract is not consumer-oriented. DOCCS and Microgenics are both highly

sophisticated parties that regularly enter into complex commercial transactions. As such, any

allegedly misleading conduct between DOCCS and Microgenics is not covered by GBL § 349,

which is expressly intended to protect unsophisticated individual consumers. See, e.g., Genesco

Ent. v. Koch, 593 F. Supp. 743, 751 (S.D.N.Y. 1984) (“The typical violation contemplated by the

statute involves an individual consumer who falls victim to misrepresentations made by a seller of

consumer goods[.]”); see also Exxonmobil Inter-America, Inc., 328 F. Supp. 2d at 450 (observing

that “[Section] 349 [was] designed to protect ‘the little guy’ from false advertising, pyramid

schemes, bait-and-switch sales tactics, and other mischievous machinations by swindlers and

scallywags” and therefore does not apply to complex transactions between sophisticated parties).


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       In addition, the transaction between DOCCS and Microgenics was highly customized to

DOCCS’s specific needs; in other words, it was not merely a “standard-issue” contract of

boilerplate terms offered to the public at large. Specialized, one-off contracts that are “tailored to

meet the [plaintiff's] wishes and requirements” are not consumer-oriented for § 349 purposes

because they are unlikely to threaten a widespread dissemination of misleading information to

average consumers. New York Univ. v. Cont’l Ins. Co., 87 N.Y.2d 308, 662 N.E.2d 763 (1995);

see also Teller v. Bill Hayes, Ltd., 213 A.D.2d 141, 146–48, 630 N.Y. Supp. 2d 769, 773 (2d Dep’t

1995) (holding that “large, private, single-shot contractual transactions” are “clearly not

cognizable under [Section 349]”).

       Finally, there was no disadvantageous disparity of bargaining power between DOCCS and

Microgenics. On the contrary, Microgenics’ bid was prepared according to DOCCS’s own

specifications, and the final contract was approved by both the Attorney General and the

Comptroller. This high level of scrutiny by sophisticated professionals belies any argument that

the DOCCS–Microgenics agreement resembles the type of predatory, consumer-duping

transaction that GBL § 349 is intended to reach. As such, GBL § 349 does not apply, and Plaintiff’s

consumer protection claim must be dismissed.

           B. Plaintiff has not alleged personal deception by Microgenics and therefore
              cannot prove causation under GBL § 349.

       Even if GBL § 349 did apply to Microgenics’ agreement with DOCCS (it does not),

Plaintiff’s claim would still fail because she neither saw nor relied upon Microgenics’ allegedly

misleading statements and therefore cannot prove causation. New York case law “consistently

holds that ‘in order to have been injured by the defendant’s deceptive act [under GBL § 349], a

plaintiff must have been personally misled or deceived.’” Fero v. Excellus Health Plan, Inc., No.

6:15-cv-06569-EAW, 2020 WL 6866369, at *9 (W.D.N.Y. Nov. 23, 2020) (quoting Ritchie v. N.



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Leasing Sys., Inc., No. 12 Civ. 4992 (KBF), 2016 WL 1241531, at * 21 (S.D.N.Y. Mar. 28, 2016)

(emphasis added). Thus, “to properly allege causation, a plaintiff must state in his complaint that

he has seen the misleading statements of which he complains before he came into possession of

the products he purchased.” Oden v. Boston Sci. Corp., 330 F. Supp. 3d 877, 902 (E.D.N.Y. 2018)

(quoting Goldemberg v. Johnson & Johnson Consumer Cos., Inc., 8 F. Supp. 3d 467, 482

(S.D.N.Y. 2014); see also Abraham v. Am. Home Mortg. Servicing, Inc., 947 F. Supp. 2d 222, 234

(E.D.N.Y. 2013) (“In an action under GBL § 349, each plaintiff must individually plead the

disclosures he or she received were inadequate, misleading, or false, and that she was injured as a

result of the insufficient or false disclosures.”).

        Plaintiff cannot satisfy her burden to show personal knowledge of or reliance upon the

alleged misrepresentations here. The Complaint does not establish that Plaintiff saw any product

literature or marketing materials prior to her April 14, 2019 drug screen. Nor indeed could Plaintiff

properly establish pre-purchase reliance thereon, as the purchaser/consumer for purposes of GBL

§ 349 was DOCCS, not Plaintiff. Thus, absent personal deception due to Microgenics’ allegedly

misleading statements, Plaintiff cannot establish causation under GBL § 349, and her claim should

be dismissed.

                                              Conclusion

        Plaintiff has failed to plausibly allege any theory of state action by Microgenics sufficient

to support her Section 1983 claims. On the contrary, she has neglected to plead any facts suggesting

DOCCS’s encouragement of, participation in, or entwinement with Microgenics’ alleged

violations. As there can be no state action without some involvement by a state actor, these claims

fail as a matter of law. These claims also fail because Plaintiff has not alleged that Microgenics’

alleged constitutional violations occurred pursuant to an official policy, as is necessary to hold a




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private company liable under Section 1983. Nor do Plaintiff’s allegations satisfy the substantive

elements of her Eighth and Fourteenth Amendment claims; simply put, neither the alleged

violations nor Microgenics’ alleged degree of culpability rise to the level of seriousness required.

Finally, the Complaint does not state a plausible claim under GBL § 349, as that statute does not

apply to the complex commercial contract at issue in this case. For the foregoing reasons,

Microgenics respectfully requests that Counts II, III, and IV of Plaintiff’s Second Amended Class

Action Complaint be dismissed, with prejudice.

                                              Respectfully submitted,

Dated: June 10, 2021                          s/Nathan J. Marcusen
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